10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

UNITED sTATEs oF AMERICA CAsE No. O K~. 937/4

ORDER OF DETENTION
Plaintiff,

VS.

m A'S 014/b TB/z/me imde A/l>/

 

l
A. W motion of the Govemment in a case allegedly involving:
1. ( ) a crime of violence. k
2. ( ) an offense With maximum sentence of life imprisonment or

death.
3. mtics or controlled substance offense With maximum

sentence of ten or more years.

4. ( ) any felony - Where defendant convicted of two or more prior
offenses described above.

5. ( ) any felony that is not otherwise a crime of violence that

involves a minor victim, or possession or use of a firearm or destructive

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

Case 2:08-cr-00506-GW Document 7 Filed 04/18/08 Page 2 of 4 Page |D #:106

device or any other dangerous weapon, or a failure to register under 18

U.S.C. § 2250.
B. ( On motion by the Govemment/ on Court’s own motion, in a case
allegedly involving:

( Q/On the further allegation by the Government of :

l. a serious risk that the defendant will flee.

2. ( ) a serious risk that the defendant will:

 
 

a. ( ) obstruct or attempt to obstruct justice.
b. ( ) threaten, injure or intimidate a prospective witness or
juror, or ,» § Q,";:T" so.

C. The Governme¢*€i*.\"@` ) is not entitled to a rebuttable presumption that
no condition or combination of conditions will reasonably assure the defendant’s
appearance as required and the safety or any person or the community.
II

A. (H/l` he Court finds that no condition or combination of conditions Will
reasonably assure:

l`. ( ) the appearance of the defendant as required.

( ) and/or

2. mety of any person or the community.
B. W The Court finds that the defendant has not rebutted by sufficient
evidence to the contrary the presumption provided by statute. @/& 710

5'@@@>‘3 5b M ear cr @wmm/%

The Court has considered:
A. the nature and circumstances of the offense(s) charged, including whether
the offense is a crime of violence, a Federal crime of terrorism, or involves a minor
victim or a controlled substance, firearm, explosive, or destructive device;
B. the weight of evidence against the defendant;
C. the history and characteristics of the defendant; and

2

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

Case 2:08-cr-00506-GW Document 7 Filed 04/18/08 Page 3 of 4 Page |D #:107

D. the nature and seriousness of the danger to any person or the community.
lV
The Court also has considered all the evidence adduced at the hearing and the
arguments and/ or statements of counsel, and the Pretrial Services
Report/recommendation.
V .
The Court bases the foregoing finding(s) on the following:
A. ( ) As to flight risk:

 

 

 

 

 

 

 

 

    
 
 
 

 

l/%“}»PMMWZ veil )//m@>%w' //)
/<2/¢/,/ WNQ Q¢)WF V@m cQ,//)71 /QQ

' v

//7/£@%5>@;9\2¢ LSU fr*/mj’ <)7l 0:49 S//A> ebb/wle

VI

A. ( ) The Court finds that a serious risk exists the defendant will:
l. ( ) obstruct or attempt to obstruct justice.

2. ( ) attempt to/ ( )threaten, injure or intimidate a witness or juror.

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

Case 2:08-cr-00506-GW Document 7 Filed 04/18/08 Page 4 of 4 Page |D #:108

B. The Court bases the foregoing finding(s) on the following:

 

 

 

VI

A. IT IS THEREF ORE ORDERED that the defendant be detained prior to trial.

B. IT IS FURTHER ORDERED that the defendant be committed to the custody

of the Attorney General for confinement in a corrections facility separate, to the

extent practicable, from persons awaiting or serving sentences or being held in

custody pending appeal.

C. IT IS FURTHER ORDERED that the defendant be afforded reasonable

opportunity for private consultation with counsel.

D. IT IS FURTHER ORDERED that, on order of a Court of the United States
or on request of any attorney for the Government, the person in charge of the corrections
facility in Which defendant is confined deliver the defendant to a United States marshal

for the purpose of an appearance in connection with a court proceeding.

DATED ]jiilélb(< £,,<}7%\

NléfFE T. LUM
UNITED STATES MAGISTRATE JUDGE

 

